UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------- X
                                                          :
TREVOR WHITTINGHAM,                                       :
                                                          :
                                        Plaintiff,        :
                                                          :    23-CV-6058 (VSB)
                      - against -                         :
                                                          :   OPINION & ORDER
                                                          :
MARK TRESS, ALSO KNOWN AS MOISHE:
TRESS, ET AL.,                                            :
                                                          :
                                         Defendants. :
                                                          :
--------------------------------------------------------- X

Appearances:

Trevor Whittingham
New York, NY
Pro se Plaintiff

Saul Warren Bienenfeld
Bienenfeld Law
Cedarhurst, NY
Counsel for Defendant 1180 President Funding, LLC

John Anthony Piskora
Loeb & Loeb LLP
New York, NY
Counsel for Defendants Harlem Contracting, LLC, David Satnick, John Piskora, and Loeb &
Loeb LLP

Michael James Bonneville
Kriss & Feuerstein LLP
New York, NY
Counsel for Defendants David Kriss and Jerold Feuerstein

Lena Eleni Paxos
Condon & Mara, PLLC
Nanuet, NY
Counsel for Defendants Steve Zervoudis, and Galaxy General Contracting Corporation
Anjali Bhat
New York Attorney General
New York, NY
Counsel for Susana Molina Rojas, Kam Yuen, Emma Lauren Holmes, Melissa Ann Crane,
Deborah Baker, Tyler Evans, Kevin Badskhan, Joshua Kelly, and Roberta Askhin

VERNON S. BRODERICK, United States District Judge:

       Before me are Defendants Kevin Badskhan, Deborah Baker, Melissa Ann Crane, Tyler

Evans, Emma Lauren Holmes, Joshua Kelly, Susana Molina Rojas, and Kam Yuen’s motion to

dismiss Plaintiff’s complaint, (Doc. 16); Plaintiff’s motions for default judgment and summary

judgment, (Doc. 20); Defendants Loeb & Loeb LLP, John Piskora, and David Satnick’s motion

to dismiss, (Doc. 22); Defendant Harlem Contracting, LLC’s cross motion to dismiss, (Docs.

29); Plaintiff’s motion “pursuant to Federal Rule of Civil Procedure Rule 12 [a][1][4],” (Doc.

33); Defendants Roberta Ashkin, Jerold Feuerstein, and David Kriss’s motion to dismiss, (Doc.

41); Plaintiff’s motion “pursuant to Federal Rule[s] of Civil Procedure 11 [and] 12[a][1][4],”

(Doc. 48); Plaintiff’s motion “pursuant to 28 U.S.C. 1927 and Federal Rule of Civil Procedure

11 [for] sanctions,” (Docs. 54 at 1; see also Doc. 55); Plaintiff’s second motion for default

judgment, (Doc. 48); Plaintiff’s second motion for sanctions, (Doc. 70); Defendant 1180

President Funding, LLC’s motion to dismiss, (Doc. 78); Plaintiff’s motion for an injunction and

restraining order, (Doc. 82; see also Doc. 83); Defendant Steve Zervoudis’s cross motion to

dismiss, (Doc. 89); Defendant Galaxy General Contracting Corporation’s motion to dismiss,

(Doc. 90); and Plaintiff’s second motion for an injunction and restraining order, (Doc. 95).

       For the reasons that follow, Defendants’ motions to dismiss Plaintiff’s complaint are

GRANTED; Plaintiff’s motions for default judgment and summary judgment are DENIED;

Plaintiff’s motions for sanctions are DENIED; and Plaintiff’s motions for an injunction and

restraining order are DENIED.




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                    Factual Background 1

           Pro se Plaintiff Trevor Whittingham (“Plaintiff” or “Whittingham”) initially brought this

action along with former plaintiffs 2201 7th Avenue Realty LLC (“2201 LLC”) and Global

Investment Strategies Trust (“Global”). (Compl. ¶ 1; see also Doc. 7, Aug. 18, 2023 order

dismissing 2201 LLC and Global as plaintiffs.) 2 2201 LLC and Global were defendants in the

2010 action Harlem Contracting, LLC v. 2201 7th Avenue Realty LLC, et al., Index No.

102131/2010 in the Supreme Court of the State of New York, County of New York (the

“Underlying Action”). (Compl. ¶¶ 7-23; see also Doc. 1-3, Ex. Y, at 34–44 (June 1, 2021

Decision and Order of Justice Melissa Crane in the Underlying Action (the “Decision”)); see

also Bhat Decl., Doc. 17-1, Ex. A.) 3 The Underlying Action arose because 2201 LLC failed to

fully pay its contractors for labor and construction services on a condominium development

project on a property in Harlem, New York (the “Property”). 4 (Compl. ¶¶ 11-12, 40, 45, 52, 65-

74; see also Decision 2; see also State Defs. Mem. 2–3.) 5 Defendant Galaxy General

Contracting Corp. (“Galaxy”), the general contractor, filed a mechanic’s lien against the Property

and subsequently filed the Underlying Action to foreclose on the Property. (Compl. ¶¶ 11, 14,




1
 The facts set forth in this section are derived from Plaintiff’s Complaint, (Doc. 1), as well as state court opinions
and orders of which I take judicial notice, see Global Network Commc’ns, Inc. v. City of New York, 458 F.3d 150,
157 (2d Cir. 2006) (“A court may take judicial notice of a document filed in another court not for the truth of the
matters asserted in the other litigation, but rather to establish the fact of such litigation and related filings.” (citation
omitted)). I assume the allegations set forth in Plaintiff’s Complaint to be true for purposes of this motion. See
Kassner v. 2nd Ave. Delicatessen Inc., 496 F.3d 229, 237 (2d Cir. 2007). My references to these allegations should
not be construed as a finding as to their veracity, and I make no such findings.
2
    “Compl.” refers to Plaintiff’s Complaint, filed July 17, 2023. (Doc. 1.)
3
 “Bhat Decl.” refers to the Declaration of Anjali Bhat in Support of the State Defendants’ Motion to Dismiss, (Doc.
17), and the exhibits thereto.
4
 2201 LLC was the prior owner and developer of the real property located at 2201 7th Avenue in the Harlem
neighborhood in upper Manhattan. (See Doc. 24, Loeb Defs. Mem. at 1; see also Bhat Decl., Doc. 17-1, Ex. A at 1.)
5
 “State Defs. Mem.” refers to the Memorandum of Law in Support of the State Defendants’ Motion to Dismiss
Plaintiff’s Complaint. (Doc. 18.)



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40; see also Decision 2; see also State Defs. Mem. 2–3; see also Loeb Defs. Mem. 1.) 6 Galaxy

moved for a default judgment against certain defendants, including 2201 LLC. (Decision 2; see

also State Defs. Mem. 3.)

        The trial court initially granted the default judgment against some defendants but not

2201 LLC. Id. Galaxy appealed as to the denial of default judgment against 2201 LLC. Id. The

Supreme Court of the State of New York, Appellate Division, First Department (the “First

Department”) heard the appeal and granted the default judgment as to 2201 LLC. (Id; see also

Loeb Defs. Mem. 1). Following the First Department’s decision and remand, the trial court

entered judgment against 2201 LLC, authorized Galaxy to sell 2201 LLC’s interest in the

Property and receive the proceeds, and referred the action to Roberta Ashkin (a defendant in the

instant action), as referee, to conduct the sale and confirm the amount due to Galaxy. (Decision

3; see also Compl. ¶ 83; see also State Defs. Mem. 3.) Harlem Contracting, LLC (“Harlem

Contracting”), plaintiff in the Underlying Action, was the successful bidder at the 2015 auction

sale conducted by Defendant Ashkin and received the deed to the Property. (Compl. ¶ 86, 89;

see also Decision 3; see also State Defs. Mem. 3; see also Loeb Defs. Mem. 1–2.)

        Plaintiff, Global and 2201 LLC thereafter moved to void the referee’s deed as

fraudulently obtained and dismiss the Underlying Action and a related action, which the trial

court denied. (Decision 3-4; see also State Defs. Mem. 3.) Plaintiff and 2201 LLC then moved

again to void the referee’s deed and stay the foreclosure sale pending determination of the related

action; the movants withdrew this motion without prejudice, but the trial court ordered that the

withdrawal was with prejudice. (Decision 4; see also State Defs. Mem. 3.) 2201 LLC moved




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 “Loeb Defs. Mem.” refers to the Memorandum of Law in Support of the Loeb Defendants’ Motion to Dismiss
Plaintiff’s Complaint. (Doc. 24.)



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once more for the same relief and also for reargument and renewal, which the trial court denied.

(Decision 4; see also State Defs. Mem. 3.) Plaintiff, Global and 2201 LLC then moved again

pursuant to New York Civil Practice Law and Rules 5105(a) by order to show cause for an order

vacating the deed. (Compl. at ¶¶ 50, 93, 95; see also Decision 1-2, 4; see also State Defs. Mem.

at 3–4). By decision, dated June 1, 2021, State Defendant Justice Melissa Crane (see Compl. at ¶

20), who was presiding over the Underlying Action, denied Plaintiff’s motion, holding that (1)

Plaintiff lacked standing as he was not a party to the Underlying Action and could not represent

Global and 2201 LLC pro se; (2) Plaintiff’s motion duplicated two previously filed motions

denied by the trial court, and therefore under the doctrine of the law of the case, the motion had

to be denied; and (3) 2201 LLC was in default and could not move while in default. (Decision 6-

9; see also Compl. ¶¶ 24, 99; see also State Defs. Mem. 4.)

       By notice of appeal, dated July 27, 2021, Plaintiff, Global and 2201 appealed the June 1,

2021 New York County Supreme Court Decision and Order to the First Department. (Compl. ¶

103; Doc. 1-3 at 67-76 (notice of appeal); see also State Defs. Mem. 4.) By decision and order,

dated and entered October 18, 2022 (the “Affirmance”, annexed to the Complaint as Exhibit JJ,

Doc. 1-3 at 151; see also Bhat Decl. Ex. B), the First Department affirmed the June 1, 2021 New

York County Supreme Court Decision and Order holding that Plaintiff’s notice of appeal was

untimely served and that Plaintiff lacked standing. (Compl. ¶¶ 20, 119; see also Affirmance at 1-

2; see also State Defs. Mem. 5.) Plaintiff sought leave to appeal to the New York Court of

Appeals, which was denied. (Compl. at ¶ 119; see also State Defs. Mem. 5.)

               Procedural History

       Plaintiff filed the Complaint in this action on July 12, 2023. (Doc. 1.) Defendants Kevin

Badskhan, Deborah Baker, Melissa Ann Crane, Tyler Evans, Emma Lauren Holmes, Joshua




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Kelly, Susana Molina Rojas, and Kam Yuen (together, the “State Defendants”) filed their motion

to dismiss and supporting papers on November 15, 2023. (Docs. 16–18). Plaintiff thereafter

filed motions for default judgment and summary judgment, as well as an affidavit in support of

the motions, on November 21 and 22, 2023. (Docs. 20–21.)

       Defendants Loeb & Loeb LLP, John Piskora, and David Satnick (together, the “Loeb

Defendants”) filed a motion to dismiss and supporting papers on November 22, 2023. (Docs.

22–24.) Defendant Harlem Contracting, LLC (“Harlem Contracting”), filed a cross motion to

dismiss and a memorandum of law in support of its cross motion and in opposition to Plaintiff’s

motion for default judgment on December 5, 2023. (Docs. 29–30). Plaintiff thereafter filed a

motion “pursuant to Federal Rule of Civil Procedure Rule 12 [a][1][4]”, which appears to be an

attempt to file a motion to dismiss against the Loeb Defendants’ motion to dismiss, on December

6, 2023. (Docs. 33–35). Plaintiff also filed an “affirmation in opposition reply,” which appears

to be Plaintiff’s opposition to Defendant Harlem Contracting’s cross motion to dismiss, on

December 13, 2023. (Doc. 42). Defendant Harlem Contracting filed its reply on December 18,

2023. (Doc. 44). The State Defendants filed their reply in further support of their motion to

dismiss and in opposition to Plaintiff’s motion for summary judgment on December 11, 2023,

(Doc. 36), and the Loeb Defendants filed a reply in support of their motion to dismiss on

December 13, 2023, (Docs. 38–39). Plaintiff filed his reply in support of his motion for

summary judgment on December 19, 2023. (Doc. 46).

       Defendants Roberta Ashkin, Jerold Feuerstein, and David Kriss filed a motion to dismiss

and supporting papers on December 15, 2023. (Doc. 41).

       Plaintiff then filed a motion “pursuant to Federal Rule[s] of Civil Procedure 11 [and]

12[a][1][4]”, which appears to be a motion for sanctions and for the dismissal of the Loeb




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Defendants’ motion to dismiss, on December 29, 2023. (Docs. 48–51). The Loeb Defendants

thereafter filed their opposition to Plaintiff’s motion for sanctions and motion to “dismiss” the

Loeb Defendants’ motion to dismiss, on January 5, 2024. (Doc. 52).

       Plaintiff subsequently filed a motion “pursuant to 28 U.S.C. 1927 and Federal Rule of

Civil Procedure 11 [for] sanctions enjoining Defendants from filing any more fraudulent,

frivolous, spacious[,] [sic] perjured[,] vexatious, dilatory motions which [are] an unethical

harassment strategies [sic] against Mr. Whittingham,” on January 10, 2024. (Doc. 54 at 1; see

also Doc. 55). The Loeb Defendants filed their opposition on January 16, 2024. (Doc. 56).

       Plaintiff thereafter filed a second motion for default judgment as to Defendants Mark

Tress (also known as Moise Tress), Harlem Contracting, the Loeb Defendants, David Kriss,

Jerold Feuerstein, Kenneth Horowitz, Roberta Ashkin, Kriss & Feuerstein, Steve Zervoudis,

Galaxy General Contracting Corporation, Banco Popular N.A., and First American Title

Insurance Company, on January 16, 2024. (Doc. 48). The Loeb Defendants and Harlem

Contracting filed their opposition on January 22, 2024. (Doc. 60). Defendants Roberta Ashkin,

Jerold Feuerstein, and David Kriss filed their opposition on January 23, 2024, (Doc. 62), and the

State Defendants filed their opposition on January 24, 2024, (Doc. 65).

       On January 22, 2024, I ordered Plaintiff to cease filing any additional motions without

leave of Court. (Doc. 59.)

       On January 29, 2024, I granted the parties’ joint request to stay the action until I issued

an order on the pending motions to dismiss. (Doc. 69.)

       On January 31, 2024, Plaintiff violated my January 22, 2024 order by filing another

motion for sanctions against Defendants. (Docs. 70–72.) In addition, Plaintiff filed what

appears to be a “reply” to my January 22, 2024 order. (Doc. 73.) On February 6, 2024, I




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informed Defendants in an order that they need not respond to Plaintiff’s latest motion for

sanctions and its supporting papers, (Docs. 70–72), in light of my January 22, 2024 order. (See

Doc. 74.) That same day, Plaintiff filed a reply to “both the New York State Unified Court

System January 24, 2024, affirmation in opposition to sanction [sic] [the Defendants].” (See

Doc. 75.) The next day, Plaintiff filed a “pre-trial statement,” (Doc. 76), again in violation of my

January 22, 2024 order.

       Thereafter, Defendant 1180 President Funding, LLC (“1180 President Funding”) filed a

motion to dismiss and supporting papers on February 27, 2024. (Docs. 78–81.)

       On March 1, 2024, Plaintiff again violated my January 22, 2024 order by filing a motion

for an injunction and restraining order “barring Defendants Mark Tress . . . [the Loeb

Defendants, and the] Kriss & Feuerstein Defendants from designating Plaintiff’s property as

abandoned[.]” (See Doc. 82 at 1; see also Doc. 83.) In response to that motion, I ordered

Defendants to file their responses to the motion. (See Doc. 84.) The Loeb Defendants filed their

opposition on March 27, 2024, (Docs. 85–86); Defendants Roberta Ashkin, Jerold Feuerstein,

and David Kriss filed a letter on March 27, 2024 stating that they take no position with respect to

Plaintiff’s motion; Defendant Steve Zervoudis filed a cross motion to dismiss for lack of

jurisdiction on March 27, 2024, (Doc. 89); Defendant Galaxy General Contracting Corporation

filed a cross motion to dismiss for lack of jurisdiction on March 27, 2024, (Doc. 90); and the

State Defendants filed a letter on March 27, 2024 stating that they take no position with respect

to Plaintiff’s motion, (Doc. 91). Plaintiff filed his reply regarding the motion for an injunction

and restraining order on April 10, 2024. (Doc. 93). That same day, Plaintiff filed what appears

to be a reply to both Defendant Steve Zervoudis’s cross motion to dismiss and Defendant Galaxy

General Contracting Corporation’s cross motion to dismiss. (Doc. 94). In addition, Plaintiff




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again filed a motion for an injunction and restraining order, but this time he added Defendants

Harlem Contracting, 1180 President Funding, and “non-party Eric Adams New York City

mayor, his minions, City of New York, and Lena E. Paxos attorney for defendants Steve

Zervoudis and Galaxy General Contracting Corporation[.]” (See Doc. 95.) 7

                  Legal Standards

                  A. Subject Matter Jurisdiction and the Rooker-Feldman Doctrine

         Federal district courts are courts of “limited jurisdiction” and must confirm that they have

subject matter jurisdiction over matters before them. See Durant, Nichols, Houston, Hodgson &

Cortese–Costa P.C. v. Dupont, 565 F.3d 56, 62–63 (2d Cir. 2009) (citation omitted). Such a

determination is a threshold issue. See Morrison v. Nat’l Australia Bank Ltd., 547 F.3d 167, 170

(2d Cir. 2008) (“Determining the existence of subject matter jurisdiction is a threshold inquiry”)

(internal quotation marks and citation omitted).

         A district court may dismiss an action for lack of subject matter jurisdiction pursuant to

Rule 12(b)(1) of the Federal Rules of Civil Procedure when the court “lacks the statutory or

constitutional power to adjudicate it.” Huntress v. United States, 810 F. App’x 74, 75 (2d Cir.

2020) (quoting Makarova v. United States, 201 F.3d 110, 113 (2d Cir. 2000)); see also Cortlandt

St. Recovery Corp. v. Hellas Telecomms., S.A.R.L., 790 F.3d 411, 416–17 (2d Cir. 2015)

(quoting Makarova, 201 F.3d at 113); see also Fed. R. Civ. P 12(h)(3) (“If the court determines

at any time that it lacks subject-matter jurisdiction, the court must dismiss the action.”).

         “‘[C]ourt[s] must take all facts alleged in the complaint as true and draw all reasonable

inferences in favor of [the] plaintiff,’ but ‘jurisdiction must be shown affirmatively, and that



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 Defendants Mark Tress (also known as Moishe Tress), Kenneth Horowitz, Banco Popular N.A., and First
Insurance Company have not appeared in this action. Plaintiff has not filed affidavits of service (i.e. indicating that
he served the complaint and summons) for any of the Defendants.



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showing is not made by drawing from the pleadings inferences favorable to the party asserting

it.’” Morrison v. Nat’l Austl. Bank Ltd., 547 F.3d 167, 170 (2d Cir. 2008) (citations omitted).

Ultimately, “the party asserting subject matter jurisdiction ‘has the burden of proving by a

preponderance of the evidence that it exists.’” Tandon v. Captain’s Cove Marina of Bridgeport,

Inc., 752 F.3d 239, 243 (2d Cir. 2014) (quoting Makarova, 201 F.3d at 113).

       “Under the Rooker–Feldman doctrine, federal district courts lack jurisdiction over cases

that essentially amount to appeals of state court judgments.” Vossbrinck v. Accredited Home

Lenders, Inc., 773 F.3d 423, 426 (2d Cir. 2014) (citing Exxon Mobil Corp. v. Saudi Basic Indus.

Corp., 544 U.S. 280, 283–84 (2005)). “The doctrine is rooted in the principle that ‘appellate

jurisdiction to reverse or modify a state-court judgment is lodged . . . exclusively in [the

Supreme] Court.’” (Id. (quoting Exxon Mobile Corp., 544 U.S. at 283)). “There are four

requirements for the application of Rooker-Feldman doctrine: (1) the federal-court plaintiff lost

in state court; (2) the plaintiff complains of injuries caused by a state court judgment; (3) the

plaintiff invites . . . review and rejection of that judgment; and (4) the state judgment was

rendered before the district court proceedings commenced.” Id. (internal quotation marks,

alterations, and citation omitted). The first and fourth requirements are “procedural,” whereas

the second and third are “substantive.” Hoblock v. Albany Cty. Bd. of Election, 422 F.3d 77, 85

(2d Cir. 2005). “Where all four requirements are met, a district court must dismiss for lack of

subject matter jurisdiction.” Hylton v. J.P. Morgan Chase Bank, N.A., 338 F. Supp. 3d 263, 274

(S.D.N.Y. 2018). “[B]ecause Rooker-Feldman concerns the Court’s subject matter jurisdiction,

the Court may address it sua sponte[.]” Wenegieme v. U.S. Bank Nat’l Ass’n, No. 16-CV-6548,

2017 WL 1857254, at *8 (S.D.N.Y. May 4, 2017), aff’d, 715 F. App’x 65 (2d Cir. 2018).




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                B. Rule 12(b)(6)

        To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), “a

complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). A claim will have “facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Id. This standard demands “more than a sheer possibility

that a defendant has acted unlawfully.” Id. “Plausibility . . . depends on a host of considerations:

the full factual picture presented by the complaint, the particular cause of action and its elements,

and the existence of alternative explanations so obvious that they render plaintiff’s inferences

unreasonable.” L-7 Designs, Inc. v. Old Navy, LLC, 647 F.3d 419, 430 (2d Cir. 2011).

        In considering a motion to dismiss, a court must accept as true all well-pleaded facts

alleged in the complaint and must draw all reasonable inferences in the plaintiff’s

favor. Kassner, 496 F.3d at 237. “A complaint is deemed to include any written instrument

attached to it as an exhibit or any statements or documents incorporated in it by reference.”

Nicosia v. Amazon.com, Inc., 834 F.3d 220, 230 (2d Cir. 2016) (internal quotation marks and

citation omitted). A court “may also consider matters of which judicial notice may be taken” in

ruling on a motion to dismiss, Staehr v. Hartford Fin. Servs. Grp., Inc., 547 F.3d 406, 425 (2d

Cir. 2008) (internal quotation marks omitted), including docket sheets, Mangiafico v.

Blumenthal, 471 F.3d 391, 398 (2d Cir. 2006). See also Global Network Commc’ns, Inc., 458

F.3d at 157 (“A court may take judicial notice of a document filed in another court not for the

truth of the matters asserted in the other litigation but rather to establish the fact of such litigation

and related filings.” (citation omitted)). A complaint need not make “detailed factual




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allegations,” but it must contain more than mere “labels and conclusions” or “a formulaic

recitation of the elements of a cause of action.” Iqbal, 556 U.S. at 678 (internal quotation marks

omitted). Finally, although all allegations contained in the complaint are assumed to be true, this

tenet is “inapplicable to legal conclusions.” Id.

               C. Pro Se Litigant

       Even after Twombly and Iqbal, a “document filed pro se is to be liberally construed and a

pro se complaint, however inartfully pleaded, must be held to less stringent standards than formal

pleadings drafted by lawyers.” See Boykin v. KeyCorp, 521 F.3d 202, 214 (2d Cir. 2008)

(quoting Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per curiam)). Further, pleadings of a pro se

party should be read “to raise the strongest arguments that they suggest.” Brownell v. Krom, 446

F.3d 305, 310 (2d Cir. 2006) (quoting Jorgensen v. Epic/Sony Records, 351 F.3d 46, 50 (2d Cir.

2003)). Nevertheless, dismissal of a pro se complaint is appropriate where a plaintiff fails to

state a plausible claim supported by more than conclusory allegations. See Walker v. Schult, 717

F.3d 119, 124 (2d Cir. 2013). In other words, “the duty to liberally construe a plaintiff’s

complaint is not the equivalent of a duty to re-write it.” Geldzahler v. N.Y. Med. Coll., 663 F.

Supp. 2d 379, 387 (S.D.N.Y. 2009) (internal quotation marks and alterations omitted).

       “Although courts hold pro se complaints to less stringent standards than formal pleadings

drafted by lawyers, . . . pro se litigants must establish subject-matter jurisdiction.” Hodge v. New

York Unemployment, No. 24-CV-1631, 2024 WL 1513643, at *1 (E.D.N.Y. Apr. 8, 2024)

(internal quotation marks and citation omitted); see Wahab v. Estee Lauder Companies, Inc., No.

18-CV-3732, 2018 WL 10758622, at *2 (E.D.N.Y. July 11, 2018) (“Notwithstanding the liberal

pleading standard afforded pro se litigants, federal courts are courts of limited jurisdiction and

may not preside over cases if subject matter jurisdiction is lacking.”)




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                  Discussion

         Plaintiff asserts a myriad of claims against Defendants pursuant to numerous federal

criminal and civil statutes. 8 Before delving into the merits of the Complaint, I must address the

application of the Rooker-Feldman doctrine to determine the threshold issue of whether I have

jurisdiction. See Wenegieme, 2017 WL 1857254, at *8.

         Based upon my review of the allegations in the Complaint, it is clear that jurisdiction

over Plaintiff’s case is barred by the Rooker-Feldman doctrine. Regarding the procedural

factors, there is no question that the state court judgment about which Plaintiff complains was



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  Plaintiff cites to various statutes throughout the Complaint, including at times to multiple statutes within one cause
of action. These statutes include, among others: (1) bribery of a public official pursuant to 18 U.S.C. § 201 against
all State Defendants (First Cause of Action, see Compl. ¶¶ 181-189); (2) racketeering enterprise pursuant to 18
U.S.C. § 1962 (“RICO”), subsection (c)¸ against all State Defendants, based on predicate acts of mail and wire
fraud, bribery, honest service fraud and other criminal acts (Second Cause of Action, see Compl. ¶¶ 190-199); (3)
racketeering conspiracy pursuant to RICO, 18 U.S.C. § 1962(d), against all State Defendants, based on the same
(Third Cause of Action, see Compl. ¶¶ 200-206); (4) racketeering aiding and abetting pursuant to RICO, 18 U.S.C. §
1962(d), against all State Defendants, based on the same predicate acts (Fourth Cause of Action, see Compl. ¶¶ 207-
210); (5) a pattern of racketeering activity pursuant to RICO, 18 U.S.C. § 1962(b) against all State Defendants based
on the same predicate acts (Fifth Cause of Action, see Compl. ¶¶ 212-213); (6) mail fraud pursuant to 18 U.S.C. §
1843 alleged as a separate cause of action against all State Defendants (Sixth Cause of Action, see Compl. ¶¶ 214-
237); (7) wire fraud pursuant to 18 U.S.C. § 1341 alleged as a separate cause of action against all State Defendants
(Seventh Cause of Action, see Compl. at ¶¶ 238-253); (8) honest service fraud pursuant to 18 U.S.C. § 1346 alleged
as a separate cause of action against Justice Crane and Clerk Rojas (Eighth Cause of Action, see Compl. ¶¶ 254-
260); (9) extortion and bribery pursuant to the Hobbs Act, 18 U.S.C. § 1951, against Justice Crane and the Appellate
Defendants (Ninth Cause of Action, see Compl. ¶¶ 261-263); (10) pattern of racketeering pursuant to 18 U.S.C. §
1962(b) against all State Defendants (Twelfth Cause of Action, see Compl. ¶¶ 285-298); (11) violation of his rights
under the First Amendment of the federal constitution pursuant to 42 U.S.C. § 1983 (“Section 1983) and 42 U.S.C. §
1985 (“Section 1985”) against all State Defendants (Thirteenth Cause of Action, see Compl. ¶¶ 299-315); (12)
violation of his due process rights under the Fourteenth Amendment pursuant to Sections 1983 and 1985 against all
State Defendants (Fourteenth Cause of Action, see Compl. ¶¶ 316-322); (13) violation of his equal protection rights
under the Fourteenth Amendment pursuant to Sections 1983 and 1985 against all State Defendants (Fifteenth Cause
of Action, see Compl. ¶¶ 323-327); (14) common law fraud under New York state law against all State Defendants
(Sixteenth Cause of Action, see Compl. ¶¶ 328-337); and (15) fraudulent conversion under New York state law
against all State Defendants (Seventeenth Cause of Action, see Compl. ¶¶ 338-342).
 I note that with regard to the criminal statutes cited by Plaintiff, with the exception of RICO, “[t]he Supreme Court
historically has been unreceptive to inferring a private right of action from a bare criminal statute, apparently
because criminal statutes are usually designed to afford protection to the general public, as opposed to a discrete,
well-defined group or individual.” Schlosser v. Kwak, 16 F.4th 1078, 1083 (2d Cir. 2021) (cleaned up). “A private
individual may bring suit under a federal statute only when Congress specifically intended to create a private right of
action.” Hill v. Didio, 191 F. App’x 13, 14 (2d Cir. 2006). Because of my ruling based on the Rooker-Feldman
doctrine, I need not review the statutes individually to determine whether Congress intended to create a private right
of action.



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issued prior to the initiation of this suit, and that Plaintiff was deemed to lack standing in that

action. (See Decision at 6–9.) Specifically, the New York state court ruled on June 1, 2021 that

Plaintiff lacked standing as he was not a party to the Underlying Action and could not represent

Global and 2201 LLC pro se, (see Decision at 6–9), and Plaintiff filed the Complaint in this

action on July 12, 2023.

       With regard to the substantive factors, Plaintiff’s alleged injuries stem from the New

York state court judgment, and Plaintiff essentially seeks review and rejection of the state court’s

decision. In other words, Plaintiff seeks a reversal of the state court’s ruling. Plaintiff “is asking

[me] to determine whether the state judgment” that found, among other things, that he lacked

standing was “wrongfully issued.” Vossbrinck, 773 F.3d at 427. Therefore, adjudicating

Plaintiff’s dispute as to the Property “would require [me] to review the state proceedings and

determine that the . . . judgment was issued in error.” Id. at 427. Indeed, “the injury of which

[Plaintiff] ‘complains’ in [his] claim for relief, and which he seeks to have remedied, is the [June

1, 2021] judgment” entered by the New York state court. Id.

       In light of the above, I find that all four of the Rooker-Feldman requirements are

satisfied. I therefore cannot exercise jurisdiction over Plaintiff’s claims, and must dismiss

Plaintiff’s Complaint. Because I do not have jurisdiction over Plaintiff’s suit, I do not consider

the merits of Plaintiff’s claims.

               Conclusion

       For the foregoing reasons, (1) Defendants’ motions to dismiss Plaintiff’s complaint are

GRANTED; (2) Plaintiff’s motions for default judgment and summary judgment are DENIED;

(3) Plaintiff’s motions for sanctions are DENIED; and (4) Plaintiff’s motions for an injunction

and restraining order are DENIED.




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       The Clerk of Court is respectfully directed to terminate all open motions and is further

directed to close this case. Because Petitioner has not made a substantial showing of the denial

of a constitutional right, a certificate of appealability will not issue. See 28 U.S.C. § 2253(c)(2).

The Clerk is further directed to mail a copy of this Opinion & Order to the pro se Plaintiff.

SO ORDERED.

Dated: July 1, 2024
       New York, New York

                                                     ______________________
                                                     Vernon S. Broderick
                                                     United States District Judge




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